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                      UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF
                              MASSACHUSETTS


David Anderson


                    Plaintiff,
v.
                                       CIVIL ACTION NO. 1:19-cv-12283-PBS
DXC Technology Services, LLC,
et al
                 Defendants.



                     SETTLEMENT ORDER OF DISMISSAL

SARIS, D.J

       The Court having been advised on December 7, 2020, by the

parties that the above action has been settled:

       IT IS ORDERED that this action is hereby dismissed

without prejudice to reconsideration and possible re-opening

if within 30 days of this order a motion is filed which

represents that the terms of the settlement agreement have not

been performed and there is good cause for the non-performing

party or parties to have failed to perform.


12/8/2020                                          By the Court,
Date
                                                   /s/ Casey Baker
                                                   Deputy Clerk
